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16                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
17
                                 SOUTHERN DIVISION
18

19    SARA SAFARI, PEYMON                            Case No. 8:22-CV-01562
      KHAGHANI, and JASON ROSE, on
20    behalf of themselves and all others
      similarly situated, and FARM                   CLASS ACTION COMPLAINT
21
      FORWARD, on behalf of the general
22    public,                                        JURY TRIAL DEMANDED
23                        Plaintiffs,
24          v.
25    WHOLE FOODS MARKET, INC., a
26    Texas corporation,

27                        Defendant.
28
                                   CLASS ACTION COMPLAINT – 1
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 1         Plaintiffs Sara Safari, Peymon Khaghani, and Jason Rose (“Consumer Plaintiffs”),
 2   on behalf of themselves and all others similarly situated, and nonprofit organization
 3   Plaintiff Farm Forward (collectively, “Plaintiffs”) file this Class Action Complaint against
 4   Whole Foods Market, Inc. (“Whole Foods”) and allege as follows:
 5                                 NATURE OF THE ACTION
 6         1.     This    consumer       fraud   action   concerns     Whole    Foods’     material
 7   misrepresentations and omissions about the use of antibiotics in the beef it sells. Whole
 8   Foods markets its beef with the slogan, “No Antibiotics, Ever” and reinforces this
 9   promotional message that its beef is antibiotic-free with other similar representations at
10   retail stores, in online marketing, and on product packaging. But, as independent testing
11   has shown, Whole Foods’ claim that it sells only antibiotic-free beef is false. Plaintiffs
12   bring this action to stop Whole Foods’ misleading promotion and sale of beef, including
13   the products listed in paragraph 40 below (“Beef Products” or the “Products”), and the
14   Consumer Plaintiffs seek to recover damages for themselves and other purchasers of these
15   Products in California.
16         2.     Plaintiff Farm Forward—a nonprofit organization seeking to end factory
17   farming—recently found that beef sold by Whole Foods contained antibiotic and other
18   pharmaceutical residue. The presence of this residue demonstrates the cattle were treated
19   with antibiotics or other pharmaceuticals while being raised. Farm Forward seeks
20   injunctive relief through this action.
21         3.     Whole Foods’ internal emails show that its executives rejected the
22   opportunity to investigate the accuracy of its “No Antibiotics, Ever” claims, in part
23   because “the repercussions for having a positive result were beyond ridiculous[.]”
24   Unreceptive to testing cattle in its supply chain, Whole Foods continued promoting its
25   beef products as antibiotic-free.
26         4.     Administering routine or subtherapeutic antibiotics to farmed animals creates
27   serious health risks. It contributes to the development of antibiotic-resistant bacteria in the
28
                                   CLASS ACTION COMPLAINT – 2
     Case 8:22-cv-01562-JWH-KES       Document 1      Filed 08/23/22   Page 3 of 43 Page ID
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 1   animals—bacteria that consumers of the meat eventually ingest.1 Once in the human
 2   system, these bacteria can cause infections that cannot be treated with existing antibiotics
 3   because the bacteria is antibiotic-resistant.2
 4         5.     Consumers overpaid for and were economically harmed as a result of Whole
 5   Foods’ misleading promotion of its Beef Products. Whole Foods charges—and
 6   consumers pay—a substantial price premium for Beef Products based on the claim that
 7   the cattle that become these Products were not given any antibiotics. For instance, Whole
 8   Foods charges $31.99 per pound for beef tenderloin steak filet mignon. A traditional
 9   retailer charges only $24.99 per pound for the same cut of beef. Thus, Whole Foods
10   marks up the price of this Beef Product by 28% in connection with its antibiotic-free
11   representations. Consumer Plaintiffs would not have purchased Beef Products, or would
12   not have paid the prices they did, had they had known the truth that cattle used in the
13   Products were raised with antibiotics.
14         6.     Plaintiffs seek an injunction requiring Whole Foods to correct and clarify its
15   past and ongoing misrepresentations and omissions, and to remove the misrepresentations
16   or, in the alternative, to ensure that Whole Foods’ Beef Products conform with how it
17   markets them. Consumer Plaintiffs, on behalf of the Class, further seek to recover their
18   overpayments for Beef Products due to Whole Foods’ false advertising.
19                                            PARTIES
20         A.     Plaintiffs
21                                            Sara Safari
22         7.     Plaintiff Sara Safari is a citizen and resident of Tustin, California.
23
24
     1
       Lisa L. Gill, Is Our Meat Safe to Eat?, 87 Consumer Rep. 31, 36 (2022).
25
     2
       Lesley Stahl, Is overuse of antibiotics on farms worsening the spread of antibiotic-
26   resistant bacteria?, CBS News (Jan. 5, 2020), https://www.cbsnews.com/news/is-
27   overuse-of-antibiotics-on-farms-worsening-the-spread-of-antibiotic-resistant-bacteria-
     60-minutes-2020-01-05/.
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                                   CLASS ACTION COMPLAINT – 3
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 1         8.     Since approximately 2010 and within the applicable limitations period, Ms.
 2   Safari has purchased Beef Products at Whole Foods on numerous occasions. She mostly
 3   recently purchased Beef Products from Whole Foods in or around June 2022.
 4         9.     Ms. Safari purchased the Products at Whole Foods’ retail stores, including
 5   its store located at 2847 Park Avenue in Tustin, California.
 6         10.    Ms. Safari saw and relied on Whole Foods representations concerning its
 7   Beef Products in-store, on its website, in its listings on Amazon, and on the Products’
 8   packaging. Ms. Safari saw and relied on Whole Foods’ “No Antibiotics, Ever” and “No
 9   antibiotics or added growth hormones, ever” slogans prior to purchasing the Beef
10   Products.
11         11.    Ms. Safari purchased the Beef Products at a premium price because, based
12   on Whole Foods’ representations, she believed all Whole Foods Beef Products derived
13   from cattle raised without antibiotics or pharmaceuticals. Choosing antibiotic-free meat
14   is important to Ms. Safari because she does not want to fund or support a farming model
15   that uses pharmaceuticals as part of raising the animals in crowded, unsanitary
16   conditions. Ms. Safari also does not want to fund or support this farming model because
17   it contributes to the rise of antibiotic-resistant bacteria and may leave pharmaceutical
18   residue in the meat.
19         12.    Whole Foods never disclosed to Ms. Safari that the cattle used in its Beef
20   Products may be raised with antibiotics or that it does not take the necessary steps to
21   ensure that all Beef Products it sells are antibiotic-free.
22         13.    Had Ms. Safari known that cattle used in Whole Foods Beef Products were
23   raised with antibiotics, she would not have purchased the Products or would not have
24   paid what she did for them.
25                                        Peymon Khaghani
26         14.    Plaintiff Peymon Khaghani is a citizen and resident of Tustin, California.
27         15.    Since approximately 2010 and within the applicable limitations period, Mr.
28
                                   CLASS ACTION COMPLAINT – 4
     Case 8:22-cv-01562-JWH-KES        Document 1     Filed 08/23/22   Page 5 of 43 Page ID
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 1   Khaghani has purchased Beef Products at Whole Foods on numerous occasions. He
 2   mostly recently purchased Beef Products from Whole Foods in or around June 2022.
 3         16.    Mr. Khaghani purchased the Products at Whole Foods’ retail stores,
 4   including its store located at 2847 Park Avenue in Tustin, California.
 5         17.    Mr. Khaghani saw and relied on Whole Foods representations concerning
 6   its Beef Products in-store, on its website, in its listings on Amazon, in emails from
 7   Whole Foods, and on the Products’ packaging. Mr. Khaghani saw and relied on Whole
 8   Foods’ “No Antibiotics, Ever” and “No antibiotics or added growth hormones, ever”
 9   slogans prior to purchasing the Beef Products..
10         18.    Mr. Khaghani purchased the Beef Products at a premium price because,
11   based on Whole Foods’ representations, he believed all Whole Foods Beef Products
12   derived from cattle raised without antibiotics or pharmaceuticals. Choosing antibiotic-
13   free meat is important to Mr. Khaghani because he does not want to fund or support a
14   farming model that uses pharmaceuticals as part of raising the animals in crowded,
15   unsanitary conditions. Mr. Khaghani also does not want to fund or support this farming
16   model because it contributes to the rise of antibiotic-resistant bacteria and may leave
17   pharmaceutical residue in the meat.
18         19.    Whole Foods never disclosed to Mr. Khaghani that the cattle used in its
19   Beef Products may be raised with antibiotics or that it does not take the necessary steps
20   to ensure that all Beef Products it sells are antibiotic-free.
21         20.    Had Mr. Khaghani known that cattle used in Whole Foods Beef Products
22   were raised with antibiotics, he would not have purchased the Products or would not
23   have paid what he did for them.
24                                            Jason Rose
25         21.    Plaintiff Jason Rose is a citizen and resident of Moorpark, California.
26         22.    Since 2005 and within the applicable limitations period, Mr. Rose has
27   purchased Beef Products at Whole Foods on numerous occasions. He most recently
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                                    CLASS ACTION COMPLAINT – 5
     Case 8:22-cv-01562-JWH-KES        Document 1      Filed 08/23/22   Page 6 of 43 Page ID
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 1   purchased Beef Products from Whole Foods in or around June 2022.
 2         23.    Mr. Rose purchased the Products at Whole Foods’ retail stores, including its
 3   store located at 740 N. Moorpark Road in Thousand Oaks, California.
 4         24.    Mr. Rose saw and relied on Whole Foods representations concerning its
 5   Beef Products in-store and on the Products’ packaging. Mr. Rose saw and relied on
 6   Whole Foods’ “No Antibiotics, Ever” slogan prior to purchasing the Beef Products.
 7         25.    Mr. Rose purchased the Beef Products at a premium price because, based
 8   on Whole Foods’ representations, he believed all Whole Foods Beef Products derived
 9   from cattle raised without antibiotics or pharmaceuticals. Choosing antibiotic-free meat
10   is important to Mr. Rose because he does not want to fund or support a farming model
11   that uses pharmaceuticals as part of raising the animals in crowded, unsanitary
12   conditions. Mr. Rose also does not want to fund or support this farming model because it
13   contributes to the rise of antibiotic-resistant bacteria and may leave pharmaceutical
14   residue in the meat.
15         26.    Whole Foods never disclosed to Mr. Rose that the cattle used in its Beef
16   Products are raised with antibiotics or that it does not take the necessary steps to ensure
17   that all Beef Products it sells are antibiotic-free.
18         27.    Had Mr. Rose known that cattle used in Whole Foods Beef Products were
19   raised with antibiotics, he would not have purchased the Products or would not have
20   paid what he did for them.
21                                          Farm Forward
22         28.    Plaintiff Farm Forward is a national public interest animal protection
23   organization founded in 2007 and recognized by the IRS as a § 501(c)(3) tax-exempt
24   entity. Farm Forward’s principal place of business is in Portland, Oregon. It has more
25   than 60,000 supporters across the world, with over 33,000 followers on social media.
26         29.    Farm Forward’s mission is to end factory farming. It has approximately 75
27   to 150 supporters and followers in Orange County.
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                                    CLASS ACTION COMPLAINT – 6
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 1          B.    Defendant
 2          30.   Defendant Whole Foods Market, Inc. is a corporation organized and
 3   existing under the laws of the state of Texas. Its principal place of business and
 4   headquarters is maintained at 550 Bowie Street, in Austin, Texas.
 5          31.   Whole Foods sells the Products in its retail stores throughout California.
 6                               JURISDICTION AND VENUE
 7          32.   This Court has jurisdiction over this lawsuit under the Class Action Fairness
 8   Act, 28 U.S.C. § 1332, because this is a proposed class action in which: (1) there are at
 9   least 100 class members; (2) the combined claims of class members exceed $5,000,000,
10   exclusive of interest, attorneys’ fees, and costs; and (3) Plaintiffs and Defendant Whole
11   Foods are domiciled in different states.
12          33.   This Court has personal jurisdiction over Whole Foods because the relevant
13   transactions with Whole Foods giving rise to Plaintiffs’ claims occurred in California,
14   and Whole Foods has sufficient minimum contacts in California to render the exercise of
15   jurisdiction by this Court proper. Additionally, the representations and omissions at issue
16   were directed to California residents. Many of the relevant representations and
17   omissions—and the transactions made based on those representations and omissions—
18   occurred in Whole Foods’ California stores, were made directly to California residents
19   via online marketing, and involved Beef Products purchases in California.
20          34.   Venue is proper in this District under 28 U.S.C. § 1391(b) because a
21   substantial part of the events or omissions giving rise to the claims occurred in this
22   District.
23                                 FACTUAL ALLEGATIONS
24          A.    Consumer Demand for Antibiotic-Free Meat
25          35.   In recent years, transparency about animal welfare and the administration of
26   antibiotics to animals has become increasingly important to meat consumers. According
27   to a 2018 study by the Food Marketing Institute, “‘[r]aised in the U.S.’ and ‘antibiotic-
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                                  CLASS ACTION COMPLAINT – 7
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 1   free’ are the two most requested items for expanded assortment at the primary meat
 2   store.”3 The same study found that, at the same time that conventional meat sales had
 3   decreased, “meat with special production claims, such as organic, grass-fed or antibiotic-
 4   free, had dollar gains of 25.9 percent and volume growth of 38.3 percent over 2017.4
 5   Nearly two-thirds of shoppers who have seen a claim of “antibiotic-free,” “hormone-
 6   free” or “humanely-raised” are more likely to buy the advertised item instead of a
 7   conventional counterpart.5
 8         36.    The use of antibiotics in animal farming contributes to the development of
 9   antibiotic-resistant bacteria, which can infect humans.6 Infection can occur in several
10   ways,7 but most relevant here, it can happen by consuming or handling meat.8 Giving
11   animals antibiotics contributes to the development of antibiotic-resistant bacteria. People
12   then ingest the bacteria along with the meat, and the bacteria can cause infections. Many
13   of these infections cannot be effectively treated with existing antibiotics because the
14
15   3
       Power of Meat, Food Marketing Institute, 2018, at 5.
     4
16     Id.
     5
17     Id. at 5, 48.
     6
18
       See Antibiotic Resistance: Understanding the Connection to Antibiotic Use In Animals
     Raised for Food, Mayoclinic.org, https://www.mayoclinic.org/diseases-
19   conditions/infectious-diseases/in-depth/antibiotic-resistance/art-
20
     20135516#:~:text=cause%20untreatable%20infections.-
     ,Antibiotic%20resistance%3A%20Understanding%20the%20connection%20to%20antib
21   iotic%20use%20in%20animals,These%20may%20cause%20untreatable%20infections
22
     (last visited Aug. 9, 2022); Christy Manyi-Loh et al., Antibiotic Use in Agriculture and
     Its Consequential Resistance in Environmental Sources: Potential Public Health
23   Implications, 233 Molecules 795, 796 (2018), available at
24   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6017557/.
     7
       Gill, supra note 1, at 36 (noting antibiotic-resistant bacteria can also spread through the
25
     air, water, insects, farmworkers, and soil).
26   8
       Vangelis Economou, & Panagiota Gousia, Agriculture and Food Animals as a Source
27   of Antimicrobial-Resistant Bacteria, 8 Infect Drug Resist 49-61 (2015), available at
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4388096/.
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                                   CLASS ACTION COMPLAINT – 8
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 1   bacteria are already antibiotic-resistant.9
 2         37.    The use of antibiotics is also indicative of animal mistreatment. As Farm
 3   Forward has noted elsewhere, “[d]ue to their poor genetic health and the crowded
 4   conditions in which they’re confined, animals on factory farms are often given drugs in
 5   subtherapeutic doses to promote growth and keep them alive in conditions that would
 6   otherwise stunt their growth and even kill them.”10 Therefore, the use of antibiotics in
 7   meat goes hand-in-hand with poor animal welfare standards. And animal welfare, too, is
 8   of increasing importance to meat consumers. According to a 2017 Hartman’s Group
 9   survey, 71% of respondents agreed that “when making purchasing decisions, it’s
10   important the company avoids inhumane treatment of animals,” and one of the top
11   animal welfare practices that increase the likelihood of purchases is that the “animals
12   [are] not given antibiotics/hormones.”11 In 2018, another survey found that “[t]hree-
13   fourths of consumers say that they would be likely to switch to meat, eggs and dairy
14   products with labels that guarantee that the products came from farm animals who were
15   raised according to higher animal welfare standards. This finding extends across
16   demographics, including gender, age, and race.”12 In 2020, a public opinion poll found
17

18   9
       Stahl, supra note 2.
     10
19      Ben Goldsmith, The Drugs Farm Forward Found Hiding in Your Meat, Farm Forward
20
     (April 13, 2022), https://www.farmforward.com/#!/blog?blogid=the-drugs-farm-
     forward-found-hiding-in-your-meat; see also Stacy Sneeringer et al., Economics of
21   Antibiotic Use in U.S. Livestock Production 31–36 (2015), available at
22
     https://www.ers.usda.gov/webdocs/publications/45485/err-200.pdf?v=0.
     11
        Ginger Schleuter, 2017 Study Finds Consumer Familiarity With Sustainability
23
     Reached All-Time High, Natural Products Insider,
24   https://www.naturalproductsinsider.com/sustainability/2017-study-finds-consumer-
     familiarity-sustainability-reached-all-time-high (last visited Aug. 3, 2022).
25
     12
        Lake Research Partners, Results from a Survey of American Consumers, ASPCA,
26   https://www.aspca.org/sites/default/files/aspca-
27   2018_animal_welfare_labelling_and_consumer_concern_survey.pdf (last visited Aug. 9,
     2022).
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                                   CLASS ACTION COMPLAINT – 9
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 1    that “[t]he vast majority (89%) of Americans are concerned about industrial animal
 2    agriculture, citing animal welfare, worker safety or public health risks as a concern.”13
 3          38.    Buying antibiotic-free meat and meat derived from appropriately treated
 4    animals is sufficiently important to American consumers that they are willing to pay a
 5    premium price for it. One study, for example, concluded that the price premium is 20%
 6    or more for meat raised without antibiotics than conventional counterparts.14
 7          39.    Beginning in 2002, Whole Foods launched a promotional campaign
 8    marketing its beef as having “No Antibiotics, Ever.”15 The reality is starkly different:
 9    Whole Foods sold Beef Products without taking effective measures to ensure that they
10    came from cattle raised without antibiotics.16
11          B.     Whole Foods’ Beef Products
12          40.    Whole Foods’ Beef Products—all of which are marketed with the prominent
13    slogans “[n]o antibiotics or added growth hormones, ever” or “No Antibiotics, Ever”—
14    include, but are not limited to, the following:17
15                 •      Beef Ribeye Steak
16                 •      Boneless Beef New York Strip Steak
17
      13
18       Email from Bob Meadow & Meryl O’Bryan, Lake Rsch. Partners (Feb. 1, 2019),
      available at
19
      https://www.aspca.org/sites/default/files/impact_on_public_attitudes_toward_industrial_
20    animal_agriculture-final-111120.pdf.
      14
21       Lance Price et al., Policy Reforms for Antibiotic Use Claims In Livestock, 376 Science
      130 (Supp. 2022), available at https://www.science.org/doi/10.1126/science.abj1823.
22    15
         See Whole Foods Market Quality Standards: Select Milestones, Whole Foods Market,
23    https://d39w7f4ix9f5s9.cloudfront.net/ea/2d/171463694419b8abc050017e4255/wfm-
24    timeline-4.pdf (last visited July 12, 2022).
      16
         See Andrew deCoriolis, Farm Forward Finds Drugs in Certified Meat at Whole
25
      Foods, Farm Forward (Apr. 4, 2022), https://www.farmforward.com/#!/blog/farm-
26    forward-finds-drugs-in-certified-meat-at-whole-foods/farm-forward.
      17
27       See Beef, Whole Foods Market,
      https://www.wholefoodsmarket.com/products/meat/beef, (last visited July 12, 2022).
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                                   CLASS ACTION COMPLAINT – 10
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 1               •     Beef Tenderloin Steak (Filet Mignon)
 2               •     Ground Beef 90% Lean / 10% Fat
 3               •     Boneless Beef Chuck Roast
 4               •     Ground Beef 80% Lean / 20% Fat
 5               •     Beef Top Sirloin Steak
 6               •     Lean Beef Chuck Stew Meat
 7               •     Bone-In Beef Short Ribs
 8               •     Boneless Ribeye Steak
 9               •     Organic Ground Beef 85% Lean / 15% Fat
10               •     Beef Flank Steak
11               •     Organic Boneless Beef Ribeye Steak
12               •     Beef Sirloin Flap Steak
13               •     Beef Tri Tip Roast
14               •     Bone In Flanken Style Beef Short Ribs
15               •     Beef Porterhouse Steak
16               •     Packaged Sliced Lunchmeat, Bologna – Beef Uncured
17               •     Plain Roast Beef
18               •     Bone-In Beef Ribeye Steak
19               •     Organic Beef Bones
20               •     Boneless Beef Chuck Steak
21               •     Eel River Organic Ground Beef 85% Lean/15% Fat
22               •     Country Natural Beef Ground Beef
23               •     Eel River Organic Beef Organic Grass-fed Ground Beef 93/7
24               •     Country Natural Beef Ground Beef 80% Lean/ 20% Fat
25               •     Honest Dogs with Pasture-Raised Beef
26               •     Herb Crusted Roast Beef
27               •     Rao’s Meatballs & Sauce
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                                  CLASS ACTION COMPLAINT – 11
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 1                 •      Eel River Organic Beef Ribeye Steak Bnls Retail Grs Organic S4
 2                 •      365 by Whole Foods Market Packaged Sliced Lunchmeat, Bologna –
 3                        Beef Uncured
 4                 •      Beef Oxtail
 5                 •      365 by Whole Foods Market Sliced Roast Beef
 6                 •      Diestel Turkey Ranch Beef Pastrami
 7                 •      Diestel Turkey Ranch Seasoned Uncured Beef Pastrami
 8                 •      Wellshire Farms Beef Bologna
 9                 •      Diestel Turkey Ranch Roast Beef
10                 •      Wild Planet Organic No Salt Added Shredded Beef Pouch
11                 •      Organic Meat Co. Organic Burgers
12                 •      Country Natural Beef Ground Beef 90% Lean / 10% Fat
13                 •      Applegate Organics the Great Organic Uncured Beef Hot Dog
14                 •      Panorama Organic Grass-Fed & Finished Ground Beef
15          41.    Whole Foods sells and has sold, during the applicable statute of limitations,
16    its Beef Products in California. The Products are available for purchase at Whole Foods
17    stores in California and in most other states.
18          42.    Whole Foods markets and advertises its Products in California and
19    nationwide. It reaches consumers through, among other marketing channels, in-store
20    signage, television advertising, print advertising, email marketing, and online marketing
21    including on Google, Facebook, YouTube, Twitter, Amazon Prime, and its own website
22    and blog.
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                                   CLASS ACTION COMPLAINT – 12
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 1          C.     Whole Foods’ “No Antibiotics, Ever” Advertising Misleadingly
 2                 Communicates That Its Beef Products Come from Cattle Raised
 3                 Without Antibiotics or Other Pharmaceuticals
 4          43.    Whole Foods has had a formal policy of “[n]o antibiotics ever and animal
 5    welfare standards in [its] meat department” since 2002. 18 Since 1981, no “antibiotics
 6    [were] allowed for [its] meat department.”19
 7          44.    Whole Foods promotes “No Antibiotics, Ever” through a widespread
 8    campaign in stores and online shopping outlets, as well as on its website, blog,
 9    packaging, and online and television advertisements. “No Antibiotics, Ever” is
10    prominently displayed in Whole Foods stores throughout California. “No Antibiotics,
11    Ever” appears, for example, on in-store signage above or near Whole Foods meat
12    departments as well as on the packaging for certain Products and napkins given out to
13    customers:
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      18
         See Whole Foods Market Quality Standards: Select Milestones, supra note 15.
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      19
         See id.
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                                  CLASS ACTION COMPLAINT – 13
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11          45.    A similar slogan appears on Whole Foods’ Amazon listings. As shown
12    below, next to each Beef Product on the Amazon website, the prospective purchaser
13    sees: “No added growth hormones or antibiotics, ever.”
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            46.    Similarly, on its own website, Whole Foods states that a “baseline
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      standard[]” for the meat it sells is “[n]o antibiotics ever. If an animal needs antibiotic
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                                   CLASS ACTION COMPLAINT – 14
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 1    treatment, it is separated from those bought by [its] meat department.”20
 2          47.    On its blog, Whole Foods promotes “No Antibiotics, Ever” in its meat with
 3    posts entitled, for instance, “Our Meat: No Antibiotics Ever[,]” “Our Meat: No
 4    Antibiotics, Ever[,]” “What Makes Our Meat Different[,]” and “Whole Foods Market:
 5    no antibiotics in meat departments[.]”21 These blog posts specifically mention Whole
 6    Foods’ Beef Products. For example, the “Our Meat: No Antibiotics Ever” post depicts
 7    cattle underneath the emphatic caption, “At Whole Foods Market: No Antibiotics EVER
 8    is our standard[,]” and proceeds to tout “the best-tasting beef, pork and poultry you’ll
 9    find in a grocery store and no antibiotics, EVER!”22
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      20
19       See Meat Department Quality Standards, Whole Foods Market,
20
      https://www.wholefoodsmarket.com/quality-standards/meat-standards, (last visited July
      12, 2022).
21    21
         See A.C. Gallo, Our Meat: No Antibiotics, Ever, Whole Foods Market (Jun. 25, 2012),
22    https://www.wholefoodsmarket.com/tips-and-ideas/archive/our-meat-no-antibiotics-
      ever-0; Liz Fry, Our Meat: No Antibiotics, Ever, Whole Foods Market (Apr. 29, 2015),
23
      https://www.wholefoodsmarket.com/tips-and-ideas/archive/our-meat-no-antibiotics-
24    ever; Theo Weening, What Makes Our Meat Different, Whole Foods Market (Feb. 10,
      2011), https://www.wholefoodsmarket.com/tips-and-ideas/archive/what-makes-our-
25
      meat-different; Whole Foods Market: no antibiotics in meat departments, Whole Foods
26    Market (Apr. 18, 2011), https://media.wholefoodsmarket.com/whole-foods-market-no-
      antibiotics-in-meat-departments.
27
      22
         See Gallo, supra note 21 (emphasis in original).
28
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22          48.    Whole Foods’ “No Antibiotics, Ever” promotional campaign also appears
23    in television and online video advertisements. For instance, in one television
24    advertisement, Whole Foods prominently displays imagery of beef and cattle and its “No
25    Antibiotics, Ever” slogan, while the viewer hears a rhyming slogan: “[a]t Whole Foods
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 1    Market, we raise our meat right with show-stopping taste in every bite.”23
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            49.    Whole Foods’ dissemination of “No Antibiotics, Ever” and related
14
      advertisements gives reasonable consumers the false impression that the Beef Products
15
      were raised without antibiotics.
16
            50.    Consumers understand antibiotic-free labeling to mean that the cattle used
17
      in the meat were raised without antibiotics or other pharmaceuticals. In a 2018
18
      Consumer Reports study of 1,014 Americans, “when given a list of criteria for a label
19
      claim referencing ‘no antibiotics’ on meat or poultry,” over three-quarters said “no
20
      antibiotics” should mean “no antibiotics were administered to a healthy animal” and
21
      two-thirds said it should mean “no antibiotics were administered to the animal under any
22
      circumstances.”24
23
24
      23
         Whole Foods Market TV Spot, ‘Where it Starts,’ ispot.tv (Aug. 17, 2020),
25
      https://www.ispot.tv/ad/nxX8/whole-foods-market-where-it-starts.
26    24
         Consumer Reports Survey Group, Natural and Antibiotics Labels Survey 8 (2018),
27    available at https://advocacy.consumerreports.org/wp-content/uploads/2018/10/2018-
      Natural-and-Antibiotics-Labels-Survey-Public-Report-1.pdf.
28
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 1           D.    Whole Foods’ “Animal Welfare Certified” Representation on Beef
 2                 Product Packaging Reinforces Its “No Antibiotics, Ever” Promotional
 3                 Campaign
 4           51.   Whole Foods also represents that its Beef Products are “Animal Welfare
 5    Certified” on the Products themselves, as at the bottom of the following ribeye steak
 6    label:25
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19           52.   “Animal welfare certified” is a label developed by the Global Animal
20    Partnership (“GAP”), a standards-setting group for farmed animals. While GAP
21    recognizes different tiers of certification,26 any GAP certification is supposed to mean
22    the animals were “raised without the use of antibiotics[.]”27 Given this standard and the
23    common understanding of “animal welfare,” Whole Foods’ “Animal Welfare Certified”
24
25    25
         Meat Department Quality Standards, supra note 20.
      26
26       See id.
      27
27       See Global Animal Partnership Homepage, https://globalanimalpartnership.org/ (last
      visited July 12, 2022).
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 1    label reinforces to reasonable consumers that the Beef Product was raised with higher
 2    animal welfare standards, without antibiotics or other pharmaceuticals.
 3          53.    In approximately 2007, Whole Foods’ CEO formed GAP. Farm Forward’s
 4    Board Chair28 joined GAP’s founding Board of Directors, and Farm Forward
 5    representatives continued to serve on GAP’s Board until 2020. During that decade, Farm
 6    Forward worked with GAP, and by extension Whole Foods, in an effort to improve
 7    animal welfare standards through multi-level standards development, standards
 8    application, and standards verification across the meat supply chain.
 9          54.    Whole Foods was integral to creating GAP and its standards: Whole Foods
10    employees provided staff support to GAP, and Whole Foods employees served on
11    GAP’s Board. Whole Foods thus influenced the GAP standards that would be used to
12    certify meat sold by Whole Foods. Whole Foods maintains close control over GAP to
13    this day: GAP’s executive director is Whole Foods’ Executive Leader of Meat and
14    Poultry.
15          55.    GAP developed a six-tier rating system (1, 2, 3, 4, 5 and 5+ ratings), with a
16    “1” rating denoting “No Cages, No Crates, No Crowding” and each step up from there
17    denoting additional animal welfare measures. Products certified to meet GAP standards
18    are often marketed as “Animal Welfare Certified”—branding language developed by
19    GAP, at the insistence of Whole Foods’ suppliers whose products could not qualify for
20    the higher GAP tiers, to identify products that meet at least level 1 of the rating system.
21          56.    “GAP certified meat” and “Animal Welfare Certified” meat describe the
22    same products and are used interchangeably by GAP and Whole Foods.
23          57.    GAP/Animal Welfare Certified meat is sold throughout Whole Foods’
24    stores. The products are advertised as GAP/Animal Welfare Certified, via in store
25
26    28
        Farm Forward’s Board Chair originally joined GAP’s Board of Directors as a
27    representative of a different animal protection organization, and continued serving on
      GAP’s Board as Farm Forward’s representative.
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 1    signage, online advertising, circulars, and on the package itself. Consumers pay more for
 2    Products that are GAP Animal Welfare Certified, in part because administering
 3    antibiotics to animals marketed under GAP’s Animal Welfare Certified program is
 4    strictly prohibited.
 5             58.   As detailed below, Farm Forward’s product testing revealed that Whole
 6    Foods’ Beef Products contain pharmaceutical residue. And cattle raised with routine,
 7    subtherapeutic antibiotics are typically not raised with higher animal welfare standards.
 8    Hence, Whole Foods’ “Animal Welfare Certified” label is actually false and misleads
 9    prospective purchasers, in tandem with Whole Foods’ “No Antibiotics, Ever” marketing,
10    to think that the meat comes from antibiotic-free cattle. As a result of this deception,
11    Whole Foods is able to sell more Beef Products and at higher prices.
12             59.   Even consumers unfamiliar with GAP interpret the “Animal Welfare
13    Certified” label as meaning the Beef Product was raised without antibiotics or other
14    pharmaceuticals. According to a 2017 Hartman’s Group survey, 71% of respondents
15    said that “when making purchasing decisions, it’s important the company avoids
16    inhumane treatment of animals,” and one of the top welfare practices making a purchase
17    more likely is that the “animals [are] not given antibiotics/hormones.”29 In short, a
18    reasonable consumer upon seeing Whole Foods’ “Animal Welfare Certified” label—
19    particularly in combination with its “No Antibiotics, Ever” advertising—is left with the
20    false impression that the Beef Product was raised without antibiotics.
21             E.    Whole Foods’ Beef Products Tested Positive for Antibiotics and Other
22                   Pharmaceuticals
23             60.   Testing has shown that Whole Foods’ Beef Products are not reliably
24    antibiotic-free. Whole Foods’ failure to disclose that cattle used in its Beef Products
25    were administered antibiotics is false, misleading, and contrary to its pervasive “No
26
27
      29
           Schleuter, supra note 11.
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 1    Antibiotics, Ever” promotional campaign and “Animal Welfare Certified”
 2    representation.
 3          61.    In 2021 and 2022, Farm Forward tested samples of meat products
 4    purchased at six different Whole Foods locations in San Francisco, Virginia, Chicago,
 5    and Salt Lake City. This chemical testing revealed the presence of pharmaceutical
 6    residue, including antibiotic residue, in the Beef Products.
 7          62.    Farm Forward tested the meat products using two different independent
 8    laboratories. One laboratory found monensin sodium, an antibiotic, in a Beef Product
 9    marketed as GAP Step 4 and USDA Certified Organic, and purchased from Whole
10    Foods in San Francisco. Monensin sodium is marketed as a growth-promoting
11    pharmaceutical.30
12          63.    Another laboratory found fenbendazole, an antiparasitic, in five Beef
13    Product samples purchased from Whole Foods in Salt Lake City and Chicago. All five
14    Beef Product samples were marketed as GAP certified; four of these Beef Products were
15    marketed as GAP Step 4; and three of the Beef Products were marketed as pasture-
16    raised.
17          64.    These laboratory results are consistent with the results of other tests
18    performed on purported “antibiotic-free” cattle. For example, Food In-Depth (“FoodID”)
19    tested 699 head of cattle at a slaughterhouse that processes “raised without antibiotics”
20    cattle. All cattle in the study were eligible to be marketed as “No Antibiotics, Ever” and
21    a subset of these cattle also were part of the GAP Animal Welfare Certified program.31
22    FoodID’s sample size represented approximately 12% of the U.S. “raised without
23    antibiotics” market during the testing period (38,219 cattle were in the study; 699 cattle
24    were tested). FoodID tested cattle urine over a seven-month period in 2020. An average
25
      30
26       RumensinTM 100 Premix, Elanco, https://www.elanco.com.au/products-services/dairy-
      cattle/products/dairy-rumensin (last visited August 14, 2022).
27
      31
         Price, supra note 14, at 131.
28
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 1    of two animals from each lot were tested. Given the “raised without antibiotics” claims,
 2    FoodID stated that “the prevalence of animals testing positive for antibiotics was
 3    expected to be zero. Thus, any animal[] testing positive would indicate a deviation from
 4    RWA [raised without antibiotics] protocols and both animals testing positive from a lot
 5    would suggest a systemic problem.”32 FoodID found that:
 6                 a.     42% of feedyards providing “raised without antibiotics” cattle had at
 7    least one animal test positive for antibiotics.33
 8                 b.     Approximately 15% of the “raised without antibiotics” cattle
 9    processed at the slaughterhouse came from a lot that tested positive for antibiotics.34
10                 c.     Approximately 26% of the GAP certified cattle came from a lot
11    where at least one animal tested positive for antibiotics, and 22% of the GAP certified
12    cattle came from a lot where both of the two animals tested positive for antibiotics.35
13          65.    The results of FoodID’s testing indicate that at least one out of every five
14    GAP certified head of cattle had been treated with antibiotics. FoodID published this
15    study in a peer-reviewed journal article in Science on April 8, 2022.
16          66.     In August 2022, Consumer Reports published a study where it tested 351
17    packages of ground meat and found “deadly bacteria in ground beef” resistant to at least
18    one antibiotic.36 As part of the study, Consumer Reports also purchased 75 packages of
19    ground chicken from Whole Foods and other stores. The testing showed that four of nine
20
21    32
         Id.
22    33
         Id.; see also Laura Reiley, Some Beef ‘Raised Without Antibiotics’ Tests Positive for
23    Antibiotics in Study, Washington Post (Apr. 7, 2022),
      https://www.washingtonpost.com/business/2022/04/07/antibiotics-found-in-natural-
24    meat/.
25    34
         Price, supra note 14, at 131.
      35
26       Lance Price et al., Policy Reforms for Antibiotic Use Claims In Livestock, 376 Science
      (Supp. 2022), available at https://www.science.org/doi/10.1126/science.abj1823.
27
      36
         Gill, supra note 1, at 31.
28
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 1    packages of Whole Foods ground chicken contained salmonella resistant to at least one
 2    antibiotic.37 The presence of antibiotic-resistant bacteria in meat or poultry may be a sign
 3    that antibiotics were used in raising the animals.38
 4          F.     Whole Foods’ Awareness of Its Beef Product Suppliers’ Use of
 5                 Antibiotics
 6          67.    In April 2022, Farm Forward notified Whole Foods that Farm Forward’s
 7    study had found antibiotic and pharmaceutical residue in Whole Foods’ Beef Products.
 8    Specifically, on April 15, 2022, Farm Forward notified John Mackey, Whole Foods’
 9    CEO, of the results of Farm Forward and FoodID’s investigations discussed above.
10          68.    Mr. Mackey did not respond to Farm Forward. Instead, he unsubscribed
11    from Farm Forward’s email list (after having been a board member and mailing list
12    recipient for over a decade).
13          69.    Knowledge of Farm Forward and FoodID’s studies within Whole Foods
14    was not limited to Mr. Mackey. The FoodID study findings were the subject of
15    conference calls with Whole Foods’ executive officers, including Anne Malleau,
16    Executive Leader of Meat and Poultry.
17          70.    Well before Science published the FoodID study and test results in April
18    2022, Whole Foods knew that it was not monitoring its beef suppliers to determine if
19    Whole Foods “No Antibiotics, Ever,” claim was true. In 2017, Farm Forward brought to
20    Ms. Malleau’s attention a pharmaceutical testing method that Whole Foods could use to
21    verify Whole Foods’ promises to consumer purchasers. Ms. Malleau dismissed the
22    opportunity without proposing an alternative, stating in part:
23                 [I]nteresting concept; however, there’s no mention of #s for
24                 statistical significance or # that’s practically relevant. I bring this
25                 up because I’ve been approached with this concept or similar
26
      37
         Id. at 36–37.
27
      38
         Id. at 37.
28
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 1                 ones and the risk management piece was not well thought
 2                 out. One of them had all of the risk being assumed by a retailer
 3                 (and there’s no way ANY retailer would sign onto that), the other
 4                 was such insignificant numbers, and the repercussions for having

 5                 a positive result were beyond ridiculous (meaning it was all a
                   sham IMO)[.]
 6
            71.    Whole Foods officers have now been informed that its Beef Products tested
 7
      positive for pharmaceutical residue. Moreover, as early as 2017, Whole Foods had ready
 8
      access to testing that could verify whether its Beef Products suppliers administered
 9
      antibiotics or other pharmaceuticals. Despite its actual and constructive knowledge that
10
      cattle used in its Beef Products were raised with antibiotics and other pharmaceuticals,
11
      Whole Foods has continued its “antibiotic-free” promotional messaging.
12
            72.    Since at least 2017, Whole Foods has known of deficiencies in GAP’s
13
      ability to verify whether the Beef Products were raised without antibiotics or other
14
      pharmaceuticals. GAP, a separate entity, is not fully independent of Whole Foods.
15
      Instead, it was founded by Whole Foods in approximately 2008.39 It relies on monetary
16
      donations from its corporate partners, including Whole Foods,40 and the majority of
17
      GAP’s leadership consists of current or former Whole Foods employees.41 Anne
18
      Malleau, Whole Foods’ Executive Leader of Meat and Poultry for Whole Foods, who
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22
         See Glob. Animal P’ship, 2018 Impact Report 12 (2018), available at
      https://globalanimalpartnership.org/flipbook/2018-impact-report/?page=1, at 12.
23    40
         See Changing the Way Food is Raised, Global Animal Partnership,
24    https://globalanimalpartnership.org/#:~:text=Global%20Animal%20Partnership%20is%
      20one,and%20creating%20long%2Dlasting%20change. (last visited July 19, 2022);
25
      When it Comes to Retail, G.A.P. Means Business, Global Animal Partnership,
26    https://globalanimalpartnership.org/businesses/ (last visited July 19, 2022).
      41
27       Our Leadership, Global Animal Partnership,
      https://globalanimalpartnership.org/about/leadership/ (last visited Aug. 5, 2022).
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 1    wrote the email quoted above, is the Executive Director of GAP.42
 2          73.    To obtain GAP certification, a meat producer must undergo an on-site audit
 3    of each farm every 15 months to verify compliance.43 Under GAP’s rules, meat
 4    producers cannot use antibiotics for “sub-therapeutic” use44 and “any animal treated with
 5    [antibiotics] cannot be marketed as GAP certified.”45 Yet, by 2017 at the latest, both
 6    GAP and Whole Foods knew of shortcomings of these GAP audits.
 7          74.    Nor would certification of certain Beef Products as USDA Organic
 8    necessarily mean they were raised without antibiotics or other pharmaceuticals, or
 9    negate Whole Foods’ actual and constructive knowledge that the Products in fact derive
10    from cattle given antibiotics. As GAP itself recognizes, the USDA Organic program
11    requires a sample of only about 10% of farms to be audited each year.46 Hence, many
12    Beef Products receive the USDA Organic certification despite no testing.
13          75.    At no point did Whole Foods obtain federal approval of its false and
14    misleading statements. The federal government does not test any of Whole Foods’ Beef
15    Products to determine if the cattle were raised with antibiotics or other pharmaceuticals.
16    Whole Foods’ “No Antibiotics, Ever” slogan and “Animal Welfare Certified”
17    representation violate 21 U.S.C. § 602, 9 C.F.R. § 317.8, and other federal laws
18    prohibiting false or misleading marketing of food products because the Products so
19
20
      42
         See Anne Malleau, Linkedin.com, https://www.linkedin.com/in/annemalleau/ (last
21
      visited July 19, 2022); see also Our Leadership, supra note 41.
22    43
         See G.A.P. Certification, Global Animal Partnership,
23    https://globalanimalpartnership.org/certification/ (last visited July 12, 2022).
      44
24       See Global Animal Partnership’s 5-Step Animal Welfare Pilot Standards for Dairy
      Cattle v1.0, Global Animal Partnership, https://globalanimalpartnership.org/wp-
25    content/uploads/2021/07/G.A.P.-5-Step-Standards-for-Dairy-Cattle-v1.0-20210707.pdf
26    (last visited July 13, 2022).
      45
         Id.
27
      46
         Glob. Animal P’ship, supra note 39, at 11.
28
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 1    advertised are not reliably free of antibiotics and other pharmaceuticals.
 2          76.      Plaintiffs’ claims do not impose, directly or indirectly, any requirement
 3    with regard to premises, facilities, or operations that is in addition to, or different than,
 4    the requirements of any federal law or regulation. Nor do Plaintiffs’ claims impose,
 5    directly or indirectly, any requirement with regard to marking, labeling, packaging, or
 6    ingredients found by the USDA Secretary to unduly interfere with the free flow of beef
 7    products in commerce, or that is in addition to, or different than, the requirements of any
 8    federal law or regulation.
 9          G.       Consumer Plaintiffs and Class Members Overpaid as a Result of
10                   Whole Foods’ False Advertising
11          77.      Whole Foods’ misrepresentations and omissions described above have
12    enabled Whole Foods to charge a significant premium for its Beef Products, some of
13    which are sold for as much as $31.99 per pound.47 By way of example, in comparison,
14    similar beef products without antibiotic-free claims from other grocers sell for $24.99
15    per pound.48
16          78.      Consumer Plaintiffs and Class members were exposed to Whole Foods’
17    representations at issue that falsely and misleadingly communicate that the cattle used in
18    its Beef Products are raised without antibiotics or other pharmaceuticals.
19          79.      Because of Whole Foods’ false advertising, Consumer Plaintiffs and Class
20    members thought they were purchasing Beef Products derived from cattle raised without
21    antibiotics or other pharmaceuticals, and reasonable consumers did not expect the Beef
22    Products were derived from cattle so raised.
23
      47
24       Beef Tenderloin Steak (Filet Mignon), Whole Foods Market,
      https://www.wholefoodsmarket.com/product/meat-beef-tenderloin-steak-filet-mignon-
25
      b07811nqgn (last visited Aug. 5, 2022).
26    48
         USDA Choice Beef Tenderloin Filet Mignon Steak, Safeway,
27    https://www.safeway.com/shop/product-details.188020017.html (last visited Aug. 5,
      2022).
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 1          80.    Absent Whole Foods’ misleading representations and omissions that its
 2    Beef Products were antibiotic-free, Consumer Plaintiffs and Class members would not
 3    have purchased the Products, or would not have purchased them at the price they paid.
 4          H.     Farm Forward Suffered Harm
 5          81.    Farm Forward, like other advocates of responsible practices, relies on
 6    honesty in marketing to perform work in furtherance of its organizational mission. In
 7    this case, Farm Forward relied to its detriment on Whole Foods’ misleading advertising.
 8    Because of Whole Foods’ misleading advertisements, resources that Farm Forward
 9    expended to direct consumers to what it believed at the time were “better” and “best”
10    choice animal products did not advance Farm Forward’s goals. To the contrary, Whole
11    Foods’ misleading advertising caused Farm Forward to direct resources in support of the
12    very forms of farming that Farm Forward seeks to end. Farm Forward’s significant
13    outlay in costs to discover Whole Foods’ deceit has also caused Farm Forward financial
14    harm in the form of direct costs to uncover and work to inform the public of the truth
15    about Whole Foods’ Beef Products, as described further below. Additionally, the
16    departure from Farm Forward’s longstanding anti-factory farming focus to expose and
17    rectify this consumer deception has drained resources from its efforts to directly oppose
18    and seek to curtail factory farming. For all these reasons, Farm Forward has expended
19    significant resources addressing Whole Foods’ misinformation, which has resulted in the
20    organization having fewer resources to devote to its mission of ending factory farming.
21          82.    Farm Forward promotes constant improvement in farmed animal welfare
22    practices in support of its mission to end factory farming. Farms with high welfare
23    standards typically do not need to use routine (also known as subtherapeutic) antibiotics
24    to treat illnesses or prevent diseases. As such, Farm Forward’s interest in meat presented
25    to consumers as having “No Antibiotics, Ever” aligns with promoting higher-welfare
26    husbandry practices. Antibiotics are most commonly administered to animals to prevent
27    or treat illness and disease contracted when animals are crowded into unsanitary factory
28
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 1    farm conditions—the kind of suboptimal animal welfare conditions Farm Forward works
 2    to prevent.
 3          83.     Since its inception in 2007 to 2020, Farm Forward helped develop, support
 4    and promote GAP certified products, including products branded as Animal Welfare
 5    Certified and with the promise “No Antibiotics, Ever.” Three Farm Forward staff
 6    members and two Farm Forward board members donated extensive time—thousands of
 7    hours—to working alongside Whole Foods on the GAP/Animal Welfare Certified
 8    standards. Farm Forward staff attended dozens of GAP meetings, sometimes held at
 9    Whole Foods’ headquarters in Austin, Texas, expending Farm Forward’s limited
10    resources to participate in these meetings, review pertinent materials, and actively
11    contribute to the decision-making processes that created the standards. Farm Forward
12    also spent hundreds of hours working with other public interest and animal protection
13    groups to improve the lives of animals in Whole Foods’ supply chain. Among other
14    work, Farm Forward spoke extensively with producers and visited farms that supply
15    Whole Foods.
16          84.     During the decade in which Farm Forward served on GAP’s Board,
17    members of the public sought guidance from Farm Forward on meat marketing claims.
18    Farm Forward relied on Whole Foods’ representations to Farm Forward that Whole
19    Foods sold GAP certified “No Antibiotics, Ever” meat, as well as Whole Foods’
20    representations of other attributes that indicated high welfare. Consequently, Farm
21    Forward promoted Whole Foods’ meat products as “better” choices through a web-based
22    consumer guide that Farm Forward, using its resources, created. Farm Forward spent its
23    own money on this consumer guide that promoted Whole Foods products. In particular,
24    Farm Forward listed Whole Foods’ GAP certified and Animal Welfare Certified
25    products as “better choices” and “best choices” for consumers to “make a difference
26    each time [they] visit the grocery store.” Recommendation of select GAP certified “No
27    Antibiotics, Ever” beef products, sold primarily at Whole Foods, were also central to
28
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 1    Farm Forward’s religious outreach program, including its in-house program, the Jewish
 2    Initiative for Animals. This program cost Farm Forward thousands of dollars.
 3          85.    Farm Forward relied on Whole Foods’ representations that its meat
 4    advertising, including with respect to GAP certification criteria, was accurate. Farm
 5    Forward would not have devoted a significant portion of its resources to serving on
 6    GAP’s Board, or to promoting meat sold at Whole Foods as “better” and “best” choices
 7    for consumers, had it known that Whole Foods’ promotional messaging, such as its
 8    claims of a “never ever antibiotics” meat supply, was misleading consumers.
 9          86.    As Farm Forward continued working with Whole Foods over time, Farm
10    Forward began to suspect that Whole Foods was selling meat from producers that
11    administered antibiotics to the animals—contrary to Whole Foods’ marketing of that
12    same meat as Animal Welfare Certified and as having “No Antibiotics, Ever”—and
13    contrary to Farm Forward’s endorsement of that same meat to its supporters and the
14    public as “better” and “best” choices. Farm Forward acted on its suspicion by
15    introducing the GAP-Whole Foods leadership to an entity that could test the meat sold at
16    Whole Foods and verify if Whole Foods’ marketing claims were true. But the GAP-
17    Whole Foods representative dismissed the proposal, noting that the concept had been
18    raised before but that “risk management” had not been well thought out and all the risk
19    would be assumed by the retailer (i.e., Whole Foods). Farm Forward understood from
20    this response that Whole Foods was neither receptive to nor interested in investigating
21    verification options. No one in the GAP-Whole Foods leadership suggested to Farm
22    Forward an alternative means of testing or otherwise verifying Whole Foods’ claims.
23          87.    After serving on GAP’s Board of Directors for a decade—within GAP’s
24    first few years of existence—Farm Forward resigned in April 2020. It did so in large part
25    because it suspected (as it ultimately concluded) that GAP’s Animal Welfare Certified
26    marketing, widely used by Whole Foods, was deceiving consumers, as well as due to
27    concerns that Whole Foods had too much control over GAP.
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 1          88.   Whole Foods’ marketing of meat as Animal Welfare Certified and having
 2    “No Antibiotics, Ever” when, in fact, the meat comes from factory and other farms that
 3    administer antibiotics to cattle, conflicted with Farm Forward’s endorsement of Whole
 4    Foods’ meat—advertised as purportedly Animal Welfare Certified and having “No
 5    Antibiotics, Ever”—as “better” and “best” choices for consumers. Whole Foods’
 6    misrepresentations, both to Farm Forward and to the public, therefore directly
 7    undermined Farm Forward’s activities to convince the public to make a “better choice”
 8    consistent with Farm Forward’s mission to end factory farming.
 9          89.   Farm Forward also experienced financial loss and disruption to its
10    organizational activities to address Whole Foods’ misrepresentations and omissions and
11    the consumer confusion they have engendered. Similarly, after Farm Forward concluded
12    it had been misled by Whole Foods, Farm Forward expended significant staff time and
13    organizational resources to address Whole Foods’ false advertising and to expose the
14    confusion and misimpressions among consumers that Whole Foods had caused and
15    continues to cause.
16          90.   In 2020, even though Whole Foods’ leadership had failed to avail itself of
17    opportunities to thoroughly test its Products, Farm Forward began testing Whole Foods’
18    meat sold in San Francisco and other U.S. cities for pharmaceutical residues. Chemical
19    testing can reliably show whether the meat comes from “No Antibiotics, Ever” higher
20    welfare farms or from farms that administer antibiotics. Farm Forward spent at least
21    $80,000 purchasing Whole Foods’ Products, shipping Products to testing laboratories,
22    and paying laboratory-testing fees.
23          91.   Farm Forward also expended significant resources on, among other efforts,
24    understanding the impact of Whole Foods’ deceptive advertising and marketing on Farm
25    Forward’s members, supporters, and social media followers, and Whole Foods’
26    consumers, and educating the public accordingly.
27          92.   To properly inform its members, supporters, and social media followers,
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 1    Farm Forward invested in and initiated a new campaign designed to expose Whole
 2    Foods’ (and other companies’) false advertising of meat. This significant departure from
 3    Farm Forward’s work to end factory farming was nonetheless important to the
 4    organization and its supporters, including because Farm Forward had promoted these
 5    products as “better choices” for many years. Farm Forward has spent over 5,000
 6    employee hours on this new campaign to educate the public.
 7          93.    Farm Forward also surveyed consumers in September 2021 to determine
 8    whether consumers were being misled by Whole Foods. Farm Forward spent more than
 9    $12,000 on the survey; and it showed that up to 97% of American consumers are being
10    misled by Whole Foods’ meat advertising claims.
11                              CLASS ACTION ALLEGATIONS
12          94.    Under Federal Rules of Civil Procedure 23(a), (b)(2), (b)(3), and/or (c)(4),
13    Consumers Plaintiffs bring this lawsuit as a class action on behalf of themselves and all
14    other persons similarly situated, on behalf of the following Class and Subclass:
15                     Class
16                     All persons in the United States who purchased a Beef
17                     Product from Whole Foods between 2017 and the present.
18                     California Subclass
19                     All persons who purchased a Beef Product from Whole
20                     Foods in California between 2017 and the present.
21          95.    The Class and California Subclass are collectively referred to as “the
22    Class.” Excluded from the Class are Defendant Whole Foods, its officers, directors, and
23    managerial employees, any individuals employed by counsel for the parties in this
24    action, and any Judge to whom this case is assigned and their staff and immediate family
25    members. Plaintiffs reserve the right to modify the Class and Subclass definitions based
26    on discovery and further investigation.
27          96.    Numerosity. While the exact number of Class members is not known at this
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 1    time, the Class is so numerous that joinder of all members is impractical. Thousands of
 2    Californians purchase Beef Products each week. The identities of Class members are
 3    available through information and records in the possession, custody, or control of
 4    Whole Foods; notice of this action can be readily given to the Class.
 5          97.    Typicality. Consumer Plaintiffs’ claims are typical of the claims of the
 6    Class. Consumer Plaintiffs, like all Class members, purchased at least one Beef Product
 7    from Whole Foods in California since 2017, and were injured by the same wrongful acts,
 8    practices, and omissions. Consumer Plaintiffs, like all Class members, were exposed to
 9    the same widespread marketing campaign and saw the same misrepresentations,
10    including at the point of purchase. The claims of Consumer Plaintiffs thus arise from the
11    same course of conduct that gives rise to the claims of every other Class member.
12          98.    Adequacy of Representation. Consumer Plaintiffs are members of the Class
13    and will fairly and adequately represent and protect the other members’ interests.
14    Consumer Plaintiffs have no interests adverse to the interests of other Class members.
15    Plaintiffs’ counsel are competent and experienced in consumer protection and other class
16    action litigation and will pursue this action vigorously.
17          99.    Predominant Common Issues of Law and Fact. Common questions of fact
18    and law exist with respect to all Class members and predominate over any questions
19    affecting only individual members. The common questions include, without limitation:
20                 a.     Whether Whole Foods advertised, marketed, promoted, and/or sold
21    its Beef Products as having “No Antibiotics, Ever”;
22                 b.     Whether Whole Foods’ Beef Products were antibiotic or
23    pharmaceutical-free;
24                 c.     Whether Whole Foods’ advertising campaign related to Beef
25    Products was unfair, unlawful, false, misleading and/or deceptive;
26                 d.     Whether claims in Whole Foods’ advertising campaign related to
27    Beef Products were material;
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 1                 e.     Whether Whole Foods knew or should have known that its Beef
 2    Products were not antibiotic or pharmaceutical-free;
 3                 f.     Whether Whole Foods had a duty to disclose to consumers that its
 4    Beef Products derived from cattle raised with antibiotics or other pharmaceuticals;
 5                 g.     Whether Whole Foods failed to disclose to consumers that its Beef
 6    Products derived from cattle raised with antibiotics or other pharmaceuticals;
 7                 h.     Whether Whole Foods’ false advertising and deceit caused injury to
 8    Consumer Plaintiffs and Class members; and
 9                 i.     The amount by which Whole Foods’ false advertising and deceit
10    inflated the prices that Consumer Plaintiffs and Class members paid for Beef Products.
11          100. Superiority. A class action is superior to all other alternatives for the fair
12    and efficient adjudication of this controversy. Absent a class action, all or nearly all
13    members of the Class would have no effective remedy because their individual claims
14    are far smaller than the cost of litigating them, making the filing of individual actions
15    infeasible. Class treatment will conserve judicial resources, avoid waste and the risk of
16    inconsistent rulings, and promote efficient adjudication before a single Judge.
17          101. Whole Foods has acted or refused to act on grounds generally applicable to
18    the entire class, making injunctive and corresponding declaratory relief appropriate with
19    respect to the Class as a whole.
20                      TOLLING OF THE STATUTES OF LIMITATIONS
21          102. All applicable statutes of limitations have been tolled by Whole Foods’
22    fraudulent concealment and denial of the facts set forth in this complaint.
23          103. Whole Foods was and remains under a continuing duty to disclose to
24    Plaintiffs and Class members its practice of marketing Beef Products derived from cattle
25    given antibiotics or other pharmaceuticals as “Animal Welfare Certified” and as
26    containing “No Antibiotics, Ever.”
27          104. As a result of Whole Foods’ fraudulent concealment, not until shortly
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 1    before this class action commenced could Plaintiffs and Class members have reasonably
 2    discovered Whole Foods’ practice of marketing Beef Products derived from cattle given
 3    antibiotics or other pharmaceuticals as “Animal Welfare Certified” and as containing
 4    “No Antibiotics, Ever.”
 5                                  FIRST CAUSE OF ACTION
 6                 Violation of the Consumers Legal Remedies Act (“CLRA”),
 7                                   Cal. Civ. Code § 1750 et seq.
 8                (By Consumer Plaintiffs on Behalf of the California Subclass)
 9          105. Plaintiffs incorporate and reallege the foregoing allegations of fact.
10          106. Whole Foods is a “person” within the meaning of California Civil Code
11    sections 1761(c) and 1770 and provided “goods”—Beef Products—within the meaning
12    of sections 1761(a) and 1770.
13          107. Consumer Plaintiffs and California Subclass members are “consumers,”
14    under California Civil Code section 1761(d), because they bought the Products for
15    personal, family, or household purposes.
16          108. The conduct alleged in this complaint constitutes unfair methods of
17    competition and unfair and deceptive acts and practice in violation of the CLRA.
18          109. As alleged more fully above, the unlawful conduct includes Whole Foods’
19    false representations to Plaintiffs and California Subclass members that the Beef
20    Products are made from cattle raised without antibiotics. Testing has shown the opposite
21    is true—Whole Foods’ Beef Products were raised with antibiotics or other
22    pharmaceuticals.
23          110. Whole Foods made false representations concerning the Beef Products in its
24    advertising and marketing materials at stores, in television advertisements, in online
25    materials, and on the products themselves, among other places.
26          111. By engaging in such conduct, Whole Foods has violated California Civil
27    Code sections 1770(a)(2), (a)(3), (a)(4), (a)(5), (a)(7), and (a)(9).
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 1          112. Whole Foods was under a duty to disclose that its Beef Products were not,
 2    in fact, free of antibiotics or other pharmaceuticals because it made partial, materially
 3    misleading representations about the Beef Products despite having superior knowledge
 4    of their origins, nature, and history, including through communications with its
 5    suppliers. Whole Foods’ duty to disclose that the cattle used in its Beef Products were
 6    raised with antibiotics or other pharmaceuticals arises in consequence of its “No
 7    Antibiotics, Ever” promotional campaign and “Animal Welfare Certified” marketing.
 8    Whole Foods has not qualified, clarified, or otherwise corrected its “No Antibiotics,
 9    Ever” and “Animal Welfare Certified” marketing even though the cattle raised for its
10    Beef Products were given antibiotics and other pharmaceuticals.
11          113. Whole Foods had ample means and opportunities to disclose to Plaintiffs
12    and California Subclass members that the cattle for its Beef Products were raised with
13    antibiotics and other pharmaceuticals, including through in-store signage, product
14    packaging, and online statements. Whole Foods did not disclose or otherwise qualify or
15    correct its misrepresentations.
16          114. Whole Foods’ relevant misrepresentations and omissions were material and
17    important to a reasonable consumer’s decision whether to purchase a Beef Product.
18          115. Each Consumer Plaintiff reasonably relied to their detriment upon Whole
19    Foods’ deceptive marketing of the Beef Products when they purchased those Products.
20          116. Consumer Plaintiffs and California Subclass members would not have
21    purchased the Beef Products or would not have paid the prices they did, had they known
22    that the cattle used in the Beef Products were raised with antibiotics or other
23    pharmaceuticals.
24          117. Plaintiffs seek injunctive relief in the form of an order requiring Whole
25    Foods to cease these deceptive acts and practices and to correct its misleading
26    promotions related to antibiotics in the beef it sells.
27          118. Pursuant to California Civil Code section 1782(a), on their own behalf and
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 1    on behalf of the Class, each Consumer Plaintiff sent a CLRA notice to Whole Foods on
 2    August 23, 2022. These notices were sent via certified mail, return receipt requested, to
 3    Whole Foods’ principal place of business. The notices advise Whole Foods that it is in
 4    violation of the CLRA and must remedy the conduct, representations, and omissions at
 5    issue. In the event the relief requested in these notices is not provided within 30 days,
 6    Plaintiffs will amend this complaint to include a request for actual and punitive damages
 7    under the CLRA.
 8          119. In accordance with California Civil Code section 1780(d), Consumer
 9    Plaintiffs’ CLRA declaration is attached as Exhibit A.
10                                SECOND CAUSE OF ACTION
11                      Violation of the Unfair Competition Law (“UCL”),
12                             Cal. Bus. & Prof. Code § 17200 et seq.
13                (By Consumer Plaintiffs on Behalf of the California Subclass,
14                                and by Plaintiff Farm Forward)
15          120. Plaintiffs incorporate and reallege the foregoing allegations of fact.
16          121. Whole Foods engaged in unlawful, unfair, and or fraudulent acts and
17    practices violative of the UCL, California Business and Professions Code section 17200
18    et seq., by advertising its Beef Products as “No Antibiotics, Ever” and “Animal Welfare
19    Certified” when in fact, the cattle used in Whole Foods’ Beef Products were raised with
20    antibiotics or other pharmaceuticals.
21          122. Whole Foods’ conduct is unlawful because it violates 21 U.S.C. § 602 and
22    its implementing regulations, which deem food misbranded when its label contains a
23    statement that is “false or misleading in any particular[.]” 21 U.S.C. § 601. Whole
24    Foods’ conduct also is unlawful because it violates 9 C.F.R. § 317.8 and related food
25    regulations providing that “no product . . . shall bear any false or misleading marking[.]”
26          123. Further, Whole Foods’ conduct is unlawful because it violates the CLRA,
27    Cal. Civ. Code § 1750 et seq., and the False Advertising Law, California Business and
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 1    Professions Code section 17500 et seq., for the reasons stated in the First and Third
 2    Causes of Action in this complaint.
 3          124. Whole Foods’ conduct is unfair because, violating the legislative declared
 4    public policy mandating truth in advertising, Whole Foods sells Beef Products raised
 5    with antibiotics or other pharmaceuticals while advertising the Products as having “No
 6    Antibiotics, Ever” and being “Animal Welfare Certified.”
 7          125. Whole Foods’ conduct is unfair, moreover, because it is unethical,
 8    oppressive, unscrupulous, and/or substantially injurious to Plaintiffs and California
 9    Subclass members. The harm to Plaintiffs resulting from Whole Foods’ conduct
10    outweighs any legitimate benefit Whole Foods derived from the conduct.
11          126. Consumer Plaintiffs could not reasonably have avoided injury as a result of
12    Whole Foods’ unfair, unlawful and fraudulent conduct. Consumer Plaintiffs and
13    California Subclass members did not know, and had no reasonable means of
14    discovering, that Whole Foods’ advertisements were false and misleading prior to
15    purchasing a Beef Product.
16          127. Whole Foods’ misrepresentations and omissions with regard to the Beef
17    Products constitute fraudulent business practices in violation of the UCL because,
18    among other things, they are likely to deceive reasonable consumers. Among other
19    falsehoods, Whole Foods marketed its Products as having “No Antibiotics, Ever” and
20    being “Animal Welfare Certified” when in fact, cattle used in the Beef Products were
21    raised with antibiotics or other pharmaceuticals.
22          128. Consumer Plaintiffs reasonably relied to their detriment upon Whole Foods’
23    unfair and fraudulent marketing of the Beef Products when they purchased those
24    Products.
25          129. All of Whole Foods’ unlawful and unfair conduct, fraudulent
26    misrepresentations, and inadequate disclosures occurred in the course of Whole Foods’
27    business and were part of a generalized course of conduct. Whole Foods’ conduct at
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 1    issue was designed to and did induce Consumer Plaintiffs and California Subclass
 2    members to purchase a Beef Product.
 3          130. As a direct and proximate result of Whole Foods’ violations of the UCL,
 4    Plaintiffs suffered injury in fact. Farm Forward suffered financial harm and substantial
 5    disruption to its organizational activities that precluded other work, as described above.
 6    Consumer Plaintiff and California Subclass members lost money or property because
 7    they would not have purchased a Beef Product, or would not have paid the prices they
 8    did, had they known that, contrary to Whole Foods’ promotional messaging, the cattle
 9    used in the Beef Products were raised with antibiotics or other pharmaceuticals.
10          131. Plaintiffs lack an adequate remedy at law and seek restitution and injunctive
11    relief according to proof. Plaintiffs will ask the Court to order Whole Foods to cease
12    these acts of unfair competition and to correct its unfair, unlawful and fraudulent
13    marketing campaign related to antibiotics in the beef it sells.
14                                 THIRD CAUSE OF ACTION
15                       Violation of the False Advertising Law (“FAL”),
16                             Cal. Bus. & Prof. Code § 17500 et seq.
17                (By Consumer Plaintiffs on Behalf of the California Subclass,
18                                and by Plaintiff Farm Forward)
19          132. Plaintiffs incorporate and reallege the foregoing allegations of fact.
20          133. Whole Foods publicly disseminated untrue or misleading advertising in
21    violation of the FAL, California Business and Professions Code section 17500 et seq.
22          134. Whole Foods violates the FAL by using false and misleading statements,
23    and material omissions, to promote the sale of its Beef Products. Whole Foods
24    represents through advertisements, in-store signage, print advertisements, online content,
25    and product labeling that the Beef Products are made from cattle raised without
26    antibiotics. Those representations are false and misleading because the Beef Products are
27    made from cattle raised with antibiotics or other pharmaceuticals.
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 1          135. Consumer Plaintiffs reasonably relied to their detriment upon Whole Foods’
 2    false and misleading advertising of the Beef Products when they purchased those
 3    Products. The general public is and was likely to be deceived by Whole Foods’ false and
 4    misleading advertising of the Beef Products as antibiotic-free.
 5          136. As a direct and proximate result of Whole Foods’ false advertising,
 6    Plaintiffs suffered injury in fact. Farm Forward suffered significant financial injury and
 7    disruption to its organizational activities, as alleged in more detail above. Consumer
 8    Plaintiff and California Subclass members would not have purchased the Beef Products
 9    or would not have paid the prices they did, had they known that the cattle used in the
10    Beef Products were raised with antibiotics or other pharmaceuticals.
11          137. Plaintiffs lack an adequate remedy at law and seek restitution and injunctive
12    relief according to proof.
13                                 FOURTH CAUSE OF ACTION
14                                       Unjust Enrichment
15                        (By Consumer Plaintiffs on Behalf of the Class)
16          138. Plaintiffs incorporate and reallege the foregoing allegations of fact.
17          139. Consumer Plaintiffs and Class members conferred benefits on Whole Foods
18    by purchasing Beef Products, and Whole Foods acknowledged and appreciated these
19    benefits.
20          140. The Beef Products that Consumer Plaintiffs and Class members purchased
21    did not have the antibiotic-free characteristic that Whole Foods represented they had.
22    Contrary to Whole Foods’ representations, Beef Products it sells come from cattle raised
23    with antibiotics.
24          141. Under these circumstances, equity and good conscience militate against
25    permitting Whole Foods to retain the profits and benefits from its wrongful conduct.
26    They should accordingly be disgorged or placed in a constructive trust so that Consumer
27    Plaintiffs and Class members can obtain restitution.
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 1                                  FIFTH CAUSE OF ACTION
 2                                     Fraudulent Concealment
 3      (By Consumer Plaintiffs on Behalf of the Class, and by Plaintiff Farm Forward)
 4          142. Plaintiffs incorporate and reallege the foregoing allegations of fact.
 5          143. Whole Foods fraudulently concealed and suppressed material facts
 6    regarding the Beef Products. Despite advertising these Products as Animal Welfare
 7    Certified and having “No Antibiotics, Ever,” Whole Foods knew when it marketed and
 8    sold these Products that the cattle from which they derive were raised with antibiotics or
 9    other pharmaceuticals. Whole Foods failed to disclose these facts to consumers at the
10    time it marketed and sold the Products. Whole Foods knowingly and intentionally
11    engaged in this concealment to falsely assure consumers that its Beef Products were
12    antibiotic-free in order to boost its sales, revenues, competitive position, and profits.
13          144. Whole Foods’ fraudulent concealment was uniform across all Class
14    members: Whole Foods concealed from all purchasers the fact that its meat suppliers
15    administer antibiotics or other pharmaceutical to the cattle. Plaintiffs and Class members
16    had no reasonable means of knowing that Whole Foods’ representations were false and
17    misleading, or that Whole Foods had omitted to disclose material details relating to the
18    Products. Plaintiffs and Class members did not and could not reasonably discover Whole
19    Foods’ concealment on their own.
20          145. Whole Foods had a duty to disclose that its Beef Products were not, in fact,
21    free of antibiotics or other pharmaceuticals because it made partial, materially
22    misleading representations about the Beef Products despite having superior knowledge
23    of their origins, nature, and history. Whole Foods’ duty to disclose that the cattle used in
24    its Beef Products were raised with antibiotics or other pharmaceuticals arises in
25    consequence of its “No Antibiotics, Ever” promotional campaign and “Animal Welfare
26    Certified” marketing. Whole Foods has neither qualified nor corrected its “No
27    Antibiotics, Ever” and “Animal Welfare Certified” marketing even though the cattle
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 1    raised for its Beef Products were given antibiotics and other pharmaceuticals.
 2          146. These omitted and concealed facts were material because a reasonable
 3    consumer would rely on them in deciding to purchase Whole Foods’ Beef Products and
 4    because they substantially reduced the value of the Products that Consumer Plaintiffs
 5    and Class members purchased. Whether Whole Foods’ Beef Products come from cattle
 6    raised with antibiotics was an important factor in Consumer Plaintiffs’ and Class
 7    members’ decisions to purchase these Products. Consumer Plaintiffs and Class members
 8    relied on Whole Foods’ misleading representations and concealment, trusting Whole
 9    Foods not to sell them food that was not as represented.
10          147. Consumer Plaintiffs and Class members were unaware of these omitted
11    material facts and would have paid less for Beef Products, or would not have purchased
12    them at all, had they known of the concealed and suppressed facts. Consumer Plaintiffs
13    and Class members did not receive the benefit of their bargain due to Whole Foods’
14    fraudulent concealment. Whole Foods was in exclusive control of the material facts and
15    such facts were not reasonably known or knowable to the public, Plaintiffs, or Class
16    members.
17          148. Consumer Plaintiffs and Class members relied to their detriment upon
18    Whole Foods’ fraudulent misrepresentations and material omissions regarding the Beef
19    Products’ nature and origins in deciding to purchase them.
20          149. As a direct and proximate result of Whole Foods’ deceit and fraudulent
21    concealment, including its intentional suppression of the true facts, Consumer Plaintiffs
22    and Class members suffered damages in an amount to be proven at trial.
23          150. Whole Foods’ deceit and fraudulent concealment also caused financial
24    injury to Plaintiff Farm Forward as set forth above.
25          151. All Plaintiffs therefore seek injunctive relief to correct and prevent Whole
26    Foods’ fraudulent concealment relating to the nature and origins of its Beef Products.
27          152. In addition, Whole Foods’ fraudulent acts and omissions were carried out
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 1    maliciously, oppressively, deliberately, with intent to defraud, and in reckless disregard
 2    of Plaintiffs’ and Class members’ rights, with the aim of enriching Whole Foods,
 3    justifying an award of punitive damages in an amount sufficient to deter such wrongful
 4    conduct in the future.
 5                                    JURY TRIAL DEMANDED
 6           153. Plaintiffs and the Class respectfully seek a jury trial on all issues so triable.
 7                                      PRAYER FOR RELIEF
 8           Consumer Plaintiffs, on behalf of themselves and the Class, respectfully ask that
 9    the Court:
10                 A.       Certify the Class under Rule 23 of Federal Rules of Civil Procedures
11    and appoint Consumer Plaintiffs and their undersigned counsel to represent the Class;
12    and
13                 B.       Award active damages or restitution, punitive damages, and pre- and
14    post-judgment interest as provided by law.
15           All Plaintiffs, on behalf of themselves, the Class, and the general public, further
16    ask that the Court:
17                 C.       Declare that Whole Foods violated California consumer protection
18    law;
19                 D.       Enter injunctive relief through an Order, inter alia, enjoining Whole
20    Foods from continuing its unlawful, unscrupulous, misleading and deceptive practices
21    and mandating that Whole Foods undertake a corrective campaign of notification at its
22    expense;
23                 E.       Award reasonable attorneys’ fees and costs of litigation as permitted
24    by law, including California Civil Code section 1780 and California Code of Civil
25    Procedure section 1021.5; and
26                 F.       Order such other and further relief as may be just and proper.
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 1
       DATED: August 23, 2022             Respectfully submitted,

 2
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